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14                         UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY - TRENTON
15

16   KATHLEEN E. MITCHELL A/K/A                 Case No.: 3:19-CV-06615 BRM-DEA
     KATHLEEN MITCHELL WILLIE
17
     DUKES,
18
                   Plaintiff,
19

20   vs.                                        STIPULATION OF DISMISSAL
21                                              WITHOUT PREJUDICE
     LEADERS FINANCIAL AND
22   ENGLISHTOWN AUTO SALES,
23
     D/B/A WOODBURY TRUCK
     CENTER, AMJAD BARAKAT,
24   INDIVIDUALLY AND AS AGENT OF
25   ENGLISHTOWN AUTO SALES,
     PRESSLER, FELT & WARSHAW,
26   LLP,
27            Defendants.
28
     STIPULATION OF DISMISSAL WITHOUT PREJUDICE - 1
     Case 3:19-cv-06615-BRM-DEA Document 27 Filed 08/14/19 Page 2 of 3 PageID: 374



1          IT IS hreby Stipulated as follows:
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           1. Plaintiff, Kathleen Mitchell a/k/a Kathleen Mitchell Willie Dukes,
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4             hereby dismisses all claims asserted against all Defendants in the
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              Complaint filed in this action.
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7
           2. Each party will bear their own fees and costs.

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           Dated: August 14, 2019
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11                                                Haines & Krieger, LLC
12
                                                  s/ David Krieger, Esq.
13                                                David Krieger, Esq.
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20                                                s/ Joshua W. Denbeaux, Esq.
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                                                  KATHLEEN MITCHELL WILLIE
27                                                DUKES
28
     STIPULATION OF DISMISSAL WITHOUT PREJUDICE - 2
     Case 3:19-cv-06615-BRM-DEA Document 27 Filed 08/14/19 Page 3 of 3 PageID: 375



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     COMPLAINT AND JURY DEMAND - 3
